      Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 1 of 24



                                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF IOWA
                                            CENTRAL DIVISION

DANIEL THOMAS ROBBINS,                                               :
     Plaintiff,                                                      :
                                                                     :    CIVIL ACTION No.: 4:18-cv-289
          v.                                                         :
                                                                     :
THE CITY OF DES MOINES, IOWA,                                        :    PLAINTIFF’S MEMORANDUM OF
Des Moines Police Detective BRAD                                     :    AUTHORITIES IN RESITANCE TO
YOUNGBLUT and Des Moines Police                                      :    DEFENDANTS’ MOTION FOR
Lieutenant JOSEPH LEO, and                                           :    SUMMARY JUDGMENT
Des Moines Police Sergeant                                           :
CHRISTOPHER CURTIS,                                                  :
       Defendants.                                                   :


          COMES NOW Plaintiff Daniel Robbins, through the undersigned counsel, and

submits this brief in resistance to the Defendants’ Motion for Summary Judgment:

                                                  TABLE OF CONTENTS

INTRODUCTION ...................................................................................................................... 2

SUMMARY JUDGMENT STANDARD .................................................................................... 3

ARGUMENT.............................................................................................................................. 4

          I.        DEFENDANTS ARE NOT ENTITLED TO QUALIFIED
                    IMMUNITY ON ROBBINS’ CLAIM THAT THEY SEIZED
                    HIM IN VIOLATION OF THE FOURTH AMENDMENT ................................... 4

                    A.         Applicable legal principles ...................................................................... 4

                    B.         A genuine issue of material fact exists as to whether
                               the law enforcement Defendants violated Robbins
                               clearly established Fourth Amendment right to be
                               free from a Terry stop unsupported by reasonable
                               suspicion ....................................................................................................5

                    C.         A genuine issue of material fact exists as to whether
                               the law enforcement Defendants violated Robbins
                               clearly established Fourth Amendment right to be
                               free from arrest absent probable cause ....................................................8
      Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 2 of 24



          II.       DEFENDANTS ARE NOT ENTITLED TO QUALIFIED
                    IMMUNITY ON ROBBINS’ CLAIM THAT THEY SEIZED HIS
                    CAMERA AND PHONE IN VIOLATION OF THE FOURTH
                    AMENDMENT .......................................................................................................... 10

                     A.       The law enforcement Defendants’ seizure of Robbins’ camera
                              without a warrant or probable cause to believe that it is
                              evidence of a crime violates the Fourth Amendment ................................. 11

                    B.        The law enforcement Defendants’ seizure of Robbins’ camera
                              without a warrant or probable cause to believe that it is
                              evidence of a crime violates the Fourth Amendment ................................. 12

          III.      THE LAW ENFORCEMENT DEFENDANTS ARE NOT
                    ENTITLED TO QUALIFIED IMMUNITY ON ROBBINS’
                    FIRST AMENDMENT RETALIATION CLAIM ............................................. 13

                    A.        Robbins had a clearly established right to be free from
                              retaliation for recording images in plain sight from a
                              public place ........................................................................................... 14

                    B.        Robbins had a clearly established right to protest the police
                              action without retaliation ............................................................................. 17

          IV.       THE CITY IS NOT ENTITLED TO SUMMARY JUDGMENT
                    ON ROBBINS’ MONELL CLAIM ........................................................................... 18

CONCLUSION ........................................................................................................................ 24


                                                      INTRODUCTION

          Plaintiff Daniel Robbins, a citizen of the United States and resident of Iowa, brings

this lawsuit against the City of Des Moines (“City”) and Des Moines Police Detective Brad

Youngblut, Des Moines Police Lieutenant Joseph Leo, and Des Moines Police Sergeant

Christopher Curtis (“law enforcement Defendants”). Robbins’ raises several constitutional

claims pursuant to 42 U.S.C. section 1983 as well as a Monell claim based on the City’s

failure to train its employees. The Defendants seek summary judgment as to all claims.

For the reasons that follow, their summary judgment motion must be denied in its entirety.




                                                                   2
     Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 3 of 24



                                SUMMARY JUDGMENT STANDARD

        Pursuant to Federal Rule of Civil Procedure 56, "[t]he court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp.

v. Catrett, 477 U.S. 317, 323 (1986) (moving party has initial responsibility of demonstrating

absence of genuine issue of material fact). If the movant does so, the nonmovant must respond

by submitting evidentiary materials that set out “specific facts showing that there is a genuine

issue for trial.” Id. at 324.

        A party asserting that a fact cannot be or is genuinely disputed must support the

assertion by:

        (A) citing to particular parts of materials in the record, including depositions,
        documents, electronically stored information, affidavits or declarations,
        stipulations (including those made for purposes of the motion only), admissions,
        interrogatory answers, or other materials; or
        (B) showing that the materials cited do not establish the absence or presence of a
        genuine dispute, or that an adverse party cannot produce admissible evidence to
        support the fact.

Fed. R. Civ. P. 56(c)(1). “A party may object that the material cited to support or dispute a fact

cannot be presented in a form that would be admissible in evidence.” Fed. R. Civ. P. 56(c)(2).

“The court need consider only the cited materials, but it may consider other materials in the

record.” Fed. R. Civ. P. 56(c)(3). “An affidavit or declaration used to support or oppose a motion

must be made on personal knowledge, set out facts that would be admissible in evidence, and

show that the affiant or declarant is competent to testify on the matters stated.” Fed. R. Civ. P.

56(c)(4).

        “Only disputes over facts that might affect the outcome of the suit under the governing

law will properly preclude the entry of summary judgment.” Anderson v. Liberty Lobb, Inc., 477

U.S. 242, 248 (1986). At this stage, the court is not to determine credibility, weigh the evidence,

or determine the truth of the matter. Id. at 249, 255. Instead, the Court views the record in the

                                                 3
     Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 4 of 24



light most favorable to the nonmoving party and determines whether there is a genuine issue

for trial. Id.

                                               ARGUMENT

I.      DEFENDANTS ARE NOT ENTITLED TO QUALIFIED IMMUNITY ON ROBBINS’
        CLAIM THAT THEY SEIZED HIM IN VIOLATION OF THE FOURTH AMENDMENT

        In Count II of his complaint, Robbins asserts a claim under 42 U.S.C. section 1983

against the law enforcement Defendants that he was illegally seized without probable cause in

violation of the Fourth Amendment. (Complaint at ¶ 89). To establish a claim under section

1983, Robbins must show there was a violation of his constitutional rights committed by a

person under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988). The law enforcement

Defendants deny that Robbins was arrested and assert that they had reasonable suspicion to

conduct a Terry stop. (Def’s MSJ Memo. at 5-7). Accordingly, they contend no constitutional

violation occurred. Alternatively, they claim they are entitled to qualified immunity.

        A.       Applicable legal principles

        Qualified immunity insulates a government official from civil damages liability

when the official's actions do not violate clearly established statutory or constitutional

rights of which a reasonable person would have known. Harlow v. Fitzgerald, 457 U.S. 800,

818 (1982). For a right to be clearly established, the right's contours must be sufficiently

clear that a reasonable official would understand that what he is doing violates that right.

Anderson v. Creighton, 483 U.S. 635, 640 (1987). Individual liability thus turns on the

objective legal reasonableness of the defendant's actions assessed in light of clearly

established law at the time. Hunter v. Bryant, 502 U.S. 224, 228 (1991); Anderson, 483

U.S. at 639-40. In Harlow, the court explained that a key question is "whether that law

was clearly established at the time an action occurred" because [i]f the law at that time was

not clearly established, an official could not reasonably be expected to anticipate



                                                  4
     Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 5 of 24



subsequent legal developments, nor could he fairly be said to 'know' that the law forbade

conduct not previously identified as unlawful. Harlow, 457 U.S. at 818. In assessing

whether the law was clearly established at the time, the court must to consider all relevant

legal authority, whether cited by the parties or not. Elder v. Holloway, 510 U.S. 510, 512

(1994). If public officials of reasonable competence could differ on the lawfulness of

defendant's actions, the defendant is entitled to qualified immunity. Malley v. Briggs, 475

U.S. 335, 341 (1986).

        B.      A genuine issue of material fact exists as to whether the law enforcement
                Defendants violated Robbins clearly established Fourth Amendment right to
                be free from a Terry stop unsupported by reasonable suspicion

        It has been clearly established law since 1979 that a police officer must have at least “a

reasonable suspicion, based on objective facts, that the individual is involved in criminal

activity” before detaining him for a Terry stop.1 Brown v. Texas, 443 U.S. 47, 51 (1979).

Similarly, an individual has no obligation to identify himself if the officer lacks reasonable

suspicion to believe that he is involved in criminal conduct. Id. at 50-52. These two legal

principles remain black letter law. Keylon v. City of Albuquerque, 535 F.3d 1210, 1216 (2008)

(“to arrest for concealing identity, there must be reasonable suspicion of some predicate,

underlying crime”).

        The Brown decision illustrates these principles. In Brown, two law enforcement officers

were cruising in their patrol car when they observed Brown and another man walking in

opposite directions away from one another in an alley. Brown, 443 U.S. at 48. One officer got



        1  The law enforcement Defendants assert they are entitled to qualified immunity because there
was no clearly established First Amendment right to record law enforcement officers at the time of
Robbins’ arrest. (Def’s MSJ Memo. at 7-8). This assertion is not only incorrect, it misses the mark on the
qualified immunity analysis on Robbins’ Fourth Amendment claim. As explained below, the unanimous
modern consensus is that recording police activity from a public place is protected speech. In any event,
the existence of a First Amendment right to record police activity is immaterial to the question of whether
a police officer can detain someone without reasonable suspicion or initiate an arrest absent probable
cause.


                                                     5
      Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 6 of 24



out and asked Brown to identify himself and explain what he was doing there. Id. at 48-49. The

officer testified that he stopped Brown because the situation “looked suspicious and [they] had

never seen the subject in that area before.” Id. at 49. The area of El Paso where Brown was

stopped had a high incidence of drug traffic. Id. The officers, however, did not claim to suspect

Brown of any specific misconduct, nor did they have reason to believe that he was armed. Id.

Brown refused to identify himself and angrily asserted that the officers had no right to stop him.

Id.

        On these facts, the Court held that “none of the circumstances preceding the officers’

detention of [Brown] justified a reasonable suspicion that he was involved in criminal conduct.

Id. at 51-52. While one of the officers testified trial that Brown “looked suspicious” but could not

identify any facts supporting that conclusion. Id. at 52. The Court also noted that nothing in

the record indicated it was unusual for people to be in the alley. Id. And, the fact that Brown

was in a neighborhood frequented by drug traffickers, standing alone, is not a basis for

concluding that he was engaged in criminal conduct. Id.

        From Brown, it follows a fortiori that the law enforcement Defendants lacked reasonable

suspicion to detain Robbins. At the time of his initial detention, the only activity that Robbins

was engaged in was walking on a public sidewalk and videotaping public events. Robbins was

carrying only a video camera, was visibly unarmed, and dressed in clothing that made it

readily apparent that he was unarmed. Robbins was not violating any law, was not acting

suspiciously or furtively, was not threatening any person, and was not interfering with any

activities of the police. Although the law enforcement Defendants are not required to identify

a specific criminal act, they must show that they actually suspected criminal activity. Id. at 51.

In their summary judgment brief, the law enforcement Defendants identify the following facts

as the basis of their claim that reasonable suspicion existed:




                                                 6
     Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 7 of 24



        •     Robbins “was photographing the personal vehicles of several officers in an
              area that had been the site of vehicle thefts and vandalism”;2

        •     Detective Youngblut “had concerns over officer safety” and Robbins was
              “observing officers’ movements”; and

        •     Detective Youngblut was aware of “previous stalking-type activities very
              similar, taking videos and monitoring activities of officers, that lead to the
              murder of a Des Moines Police Department Officer.”

(Def’s MSJ Memo. at 6-7). It is undisputed that Robbins violated no laws.3 There is nothing

inherently indicative of criminal activity in video recording items in plain view—even if it is

police property. And, as explained in Brown, however, being in a high crime area is not a

sufficient basis to suspect a person is engaged in criminal conduct. Id. at 52. Moreover, the law

enforcement Defendants offer no facts about the prior thefts and vandalism (such as a

description of the perpetrators or the time of day in which they were committed)4 that would

give a reasonable officer suspicion to believe Robbins’ activity was related. While Detective

Youngblut may have harbored a subjective concern about officer safety, there was no objective

facts to suggest Robbins posed any danger. In this regard, the holding in Brown aligns squarely

with this case in all material respects:




        2 There is a genuine issue of material fact as to what the law enforcement Defendants has reason
to believe Robbins was filming. According to the body camera video of Office Michelle Strawser the
reporting eyewitness explained Robbins’ conduct as follows:

        So she said that she . . .he’s taking pictures of her car and then she was leaving in it. And he’s
        taking pictures of her in her car from her [point of view]. And then that Lexus that’s down there,
        he was taking pictures of that and then I pulled out so that’s where he was.

(Officer Michelle Strawser Body Camera at 0:12:00 – 0:12:17). See also (Exterior Camera – East at
0:00:32 – 0:01:45).

        3During the encounter, Lieutenant Leo told Robbins that he was loitering. To their credit,
Defendants do not contend in their motion that Robbins was loitering.

        4   The Defendants produced in discovery


                                                     7
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 8 of 24




     Brown v. Texas, 447 U.S. 47 (1979)                   Robbins v. City of Des Moines


Officers observed Brown and another man           Officers observed Robbins recording images in
walking in opposite directions away from one      plain view from a public sidewalk adjacent to
another in an alley                               a police station


One officer got out and asked Brown to            Detective Youngblut pulled beside Robbins,
identify himself and explain what he was          leaned toward the passenger window and
doing there.                                      asked him what he was doing.


                                                  Robbins told Detective Youngblut that he was
The Officer stopped Brown because the
                                                  simply taking pictures. Detective Youngblut
situation “looked suspicious” and they had
                                                  told Robbins that he was being “a little
never seen the subject in that area before
                                                  suspicious”


The area of El Paso where Brown was stopped       The area had been the site of several vehicle
had a high incidence of drug traffic              thefts and acts of vandalism


                                                  Curtis told Robbins that he was not doing
                                                  anything illegal but that he was acting
The officers did not claim to suspect Brown of    suspicious. Robbins asked what crime he had
any specific misconduct, nor did they have        committed, and Detective Youngblut said it
reason to believe that he was armed.              “was suspicious” for him to be in the area


At a bare minimum, a jury question exists at to whether the law enforcement Defendants

had reasonable suspicion to detain Robbins.

       C.      A genuine issue of material fact exists as to whether the law enforcement
               Defendants violated Robbins clearly established Fourth Amendment right to
               be free from arrest absent probable cause

       The Fourth Amendment of the United States Constitution, made applicable to the States

by way of the Fourteenth Amendment, guarantees “the right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const.

amend. IV. It was clearly established well before the events in this case that in order to be valid

under the Fourth Amendment, an arrest must be supported by a warrant or probable cause that

a criminal offense has been or is being committed. See United States v. Watson, 423 U.S. 411,


                                                 8
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 9 of 24



417-24 (1976); Gerstein v. Pugh, 420 U.S. 103, 111-12 (1975); Brinegar v. United States, 338

U.S. 160-175-76 (1949). Whether probable cause exists depends upon the reasonable conclusion

to be drawn from the facts known to the arresting officer at the time of the arrest. Maryland v.

Pringle, 540 U.S. 366, 371 (2003). In determining the validity of an arrest, the court must look

to the applicable state law as it pertains to the offense at issue—in this case the law of the State

of Iowa. Ker v. California, 374 U.S. 23, 37 (1963).

       A reasonable factfinder could conclude that the law enforcement Defendants escalated

the investigatory stop into an arrest that required probable cause. "An investigative stop may

become an arrest if it lasts for an unreasonably long time or the officers use unreasonable force

in executing it." United States v. Miller, 974 F.2d 953, 957 (8th Cir. 1992). In determining

whether the amount of force used during an investigatory stope constitutes an arrest, the Court

must consider:

       (1) the number of officers and police cars involved, (2) the nature of the crime and
       whether there is reason to believe the suspect is armed, (3) the strength of the
       officer's articulable, objective suspicions, (4) the need for immediate action by the
       officer, (5) the presence or lack of suspicious behavior or movement by the person
       under observation, and (6) whether there was an opportunity for the officer to
       have made the stop in less threatening circumstances.

United States v. Thompson, 906 F.2d 1292, 1296 (8th Cir. 1990). All six factors weigh heavily in

Robbins favor.

       The video from Detective Youngblut’s body camera reveals that as many as six police

officers, including two uniformed officers, encircled Robbins. With respect to the nature of the

crime, the only mention of a possible crime that Robbins had committed was loitering. There

was no reason to believe that he was armed. There was no need for immediate action. Indeed,

Officer Michelle Strawser and Detective Demoss were aware that Robbins was filming them

from a public sidewalk and did nothing. (Exterior Camera – Southeast at 0:02:36 – 0:03:50).

Similarly, prior to the encounter, Detective Youngblut walked by Robbins while he was filming



                                                 9
      Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 10 of 24



and took no immediate action. (Exterior Camera – Southeast at 0:04:08 – 0:04:30). Later on,

during the encounter, Sergeant Curtis informed Robbins that he was free to leave. When

Robbins declared his intent to remain on the sidewalk, they informed him that he was going to

be detained for loitering. Then, the officers physically seized Robbins with force, placed him

against the hood of a truck in full view of the public, and took away his camera, vape, and cell

phone. On these facts, a reasonable juror could conclude that Robbins was arrested.

        A genuine issue of material fact exists as to whether the law enforcement Defendants

possessed probable cause to arrest Robbins. As an initial matter, they have not identified a

crime for which probable cause would have existed. It is not a crime to stand on a public

sidewalk and record images of things in plain view. At no time did Robbins make any threats or

take any aggressive actions against the officers. Nor did he attempt to flee or leave. The only

potential reason the law enforcement Defendants offer for arresting Robbins is his failure to

identify himself and explain why he was filming. (Def’s MSJ Memo. at 9-10). The police cannot

arrest an individual solely for refusing to provide identification.5 Brown, 443 U.S. at 52. On

these facts, a jury could conclude that the law enforcement officer’s violated Robbins’ right to be

free from warrantless arrest absent probable cause.

II.     DEFENDANTS ARE NOT ENTITLED TO QUALIFIED IMMUNITY ON ROBBINS’
        CLAIM THAT THEY SEIZED HIS CAMERA AND PHONE IN VIOLATION OF THE
        FOURTH AMENDMENT

        Robbins also supports his section 1983 claim with an allegation that the law enforcement

Defendants lacked a warrant or probable cause to seize his camera and cell phone. The law

enforcement Defendants counter that:




        5  Defendants’ reliance on Waters v. Madson, ___ F.3d ___, 2019 WL 1567547 (8th Cir. Apr. 11,
2019), is misplaced. In Waters, the court did not decide the issue of probable cause because it concluded no
arrest occurred. Id. at *16-20. Instead, the court concluded that it was simply an investigatory stop based
on reasonable suspicion that Waters had committed a theft because he refused to comply with the store’s
posted sign declaring that vehicles in the lumber yard were subject to inspection. Id. at *27-29.


                                                    10
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 11 of 24



        there is no constitutional right to avoid seizure of recording devices, and there is
        no clearly established right to avoid seizure of recording devices when a person is
        acting suspiciously and then refuses to explain why he is taking photographs of
        officer movements and their personal and official vehicles.

(Def’s MSJ Memo. at 10). They further assert that they had “probable cause to seize

[the] cameral to investigate whether Mr. Robbins was engaged in criminal activity

related to the vehicles.” (Def’s MSJ Memo. at 10-11). They are wrong on both accounts.

        A.      The law enforcement Defendants’ seizure of Robbins’ camera without a warrant
                or probable cause to believe that it is evidence of a crime violates the Fourth
                Amendment

        There is no meaningful dispute that at the time of the encounter, Fourth

Amendment jurisprudence clearly established “seizures conducted outside the judicial

process, without prior approval by judge or magistrate, are per se unreasonable. Minnesota

v. Dickerson, 508 U.S. 366, 372 (1993). In certain circumstances, the police may seize

evidence in plain view without a warrant. Arizona v. Hicks, 480 U.S. 321, 326 (1987).

Absent some “operational necessit[y],” however, the police may not seize an item in plain

view without probable cause to associate the property with criminal activity. Id. at 326-27.

“[I]f police lack probable cause to believe the object in plain view is contraband, i.e. if its

incriminating character [is not] immediately apparent, the plain view doctrine cannot justify its

seizure.” Dickerson, 508 U.S. at 375.

        Viewing the facts in the light most favorable to Robbins, a reasonable factfinder could

conclude that the law enforcement lacked probable cause to believe was associated with criminal

activity. A camera is not contraband. The filming of people, places, and things (including police

officers) in public is not illegal. The law enforcement Defendants did not (and do not) allege that

Robbins did anything illegal during their encounter. Instead, their claim that probable cause

existed arises from prior thefts and vandalism in the area along with an ambush-style attack on

two officers in another part of town in nearly two years earlier. Yet, they furnish no facts—other



                                                   11
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 12 of 24



than the existence of the past crimes—that would tie Robbins’ conduct and his camera to those

events. In fact, Robbins specifically asked for the legal basis for the seizure of his camera:

       YOUNGBLUT:              Yeah, I’m gonna make a suspicious activity case, put the
                               camera on property until he can give me a logical reason as
                               to why he’s recording it.

                               ***
                               Are we confiscating this then til we know what reason he is
                               down here and the suspicious activity?

       ROBBINS:                Do you have a warrant?

       YOUNGBLUT:              No, I’m going to confiscate it for suspicious activity until
                               you can . . .

       ROBBINS:                You think it was involved in a crime?

       YOUNGBLUT:              724 can you show me out at 25 East 1st, and I’ll get a case
                               number for suspicious activity.

       ROBBINS:                Was it involved in a crime? That’s what I wanna [inaudible]

       YOUNGBLUT:              I don’t know yet, I’ve got to investigate it.

       ROBBINS:                Okay, you don’t know if there’s been a crime or not?

       YOUNGBLUT:              Nope, we’re going to investigate though.

(Youngblut Body Camera at 0:06:55 – 0:08:06). In this way, the law enforcement Defendants’

view of seizing property first and using the subsequent investigation to establish probable cause

turns the Fourth Amendment on its head. Hicks, 480 U.S. at 326-28 (seizure of stereo

equipment based on reasonable suspicion rather than probable cause violates the Fourth

Amendment). In short, no objectively reasonable person in the law enforcement Defendants’

position could have believed that there was probable cause associate Robbins’ camera with

criminal activity.

       B.      The law enforcement Defendants’ seizure of Robbins’ camera without a warrant
               or probable cause to believe that it is evidence of a crime violates the Fourth
               Amendment




                                                 12
       Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 13 of 24



         The law enforcement Defendants had absolutely no suspicion to believe that

Robbins’ cell phone was involved in criminal activity. They offer nothing in the summary

judgment record from which a reasonable factfinder could infer that Robbins ever used it at

all before or during the encounter. The conversation between Detective Youngblut and

Detective Josh Rhamy confirms the purely speculative nature of the use of Robbins’ cell

phone:

         RHAMY:               He might have something on his phone too.

         YOUNGBLUT:           Yeah, we should probably take that too. Just, I don’t
                              know if you took any photos of that. It’s a Samsung.
                              We can get that search warrant as well.

(Youngblut Body Camera 11:34 - 11:42).

III.     THE LAW ENFORCEMENT DEFENDANTS ARE NOT ENTITLED TO
         QUALIFIED IMMUNITY ON ROBBINS’ FIRST AMENDMENT RETALIATION
         CLAIM

         In Count I of his Complaint, Robbins also asserts a claim under 42 U.S.C. section

1983 against the law enforcement Defendants for violation of his First Amendment rights

to (1) record images in plain view at a reasonable time, place, and manner that did not

interfere with any police activities, (2) question their lawful authority, and (3) assert his

constitutional rights without retaliation. “The First Amendment right to free speech

includes not only the affirmative right to speak, but also the right to be free from retaliation

by a public official for exercise of that right.” Suarez Corp. Indus. v. McGraw, 202 F.3d 676,

685 (4th Cir. 2000). Accordingly, “retaliation by a government actor in response to an

exercise of First Amendment rights forms a basis for section 1983 liability.” Naucke v. City

of Park Hills, 284 F.3d 923, 927 (8th Cir. 2002).

         To establish his claim, Robbins must he: (1) engaged in a constitutionally protected

activity; (2) that the government official’s adverse action caused him to suffer an injury which

would “chill a person of ordinary firmness from continuing in that activity”; and (3) that the

                                                13
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 14 of 24



adverse action was motivated in part by the exercise of his constitutional rights.” Id. at 927-28.

The law enforcement Defendants do not challenge Robbins’ prima facie case. Instead, they

assert they are entitled to qualified immunity. Their logic follows in two steps: (1) there is

no constitutional right to record the movements of law enforcement officers; and (2) even if

there was, they are entitled to qualified immunity because the right was not clearly

established at the time.

       The video evidence shows Robbins engaging in multiple activities protected by the First

Amendment. First, he stood on a public sidewalk and recorded images of what appear to be

personal vehicles of police officers illegally parked under “no parking” signs on the street

adjacent to the police station. Second, he verbally questioned the lawfulness of his detention

and interrogation. Finally, Robbins refused to leave the public sidewalk when he was told he

was free to leave.

       A.      Robbins had a clearly established right to be free from retaliation for
               recording images in plain sight from a public place

       The First Amendment prevents Congress from making any law abridging freedom of

speech or of the press. The mode of audio-video recordings expressly has been recognized

fall “within the free speech and free press guaranty of the First and Fourteenth

Amendments.” Joseph Burstyn, Inc. v. Wilson, 343 U.S. 495, 502 (1952); see also Brown v.

Entm’t Merchants Ass’n, 564 U.S. 786, 790 (2011) (observing that the First Amendment

protects actual photos, videos, and recordings). As far back as 1972, the U.S. Supreme

Court made clear First Amendment protection extended to gathering information as well as

publishing information. Branzburg v. Hayes, 408 U.S. 665, 681 (1972) (“Nor is it suggested

that news gathering does not qualify for First Amendment protection; without some

protection for seeking out the news, freedom of the press could be eviscerated”). Moreover,

the constitutional protections enjoyed by the traditional press apply to all citizens. Citizens



                                                 14
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 15 of 24



United v. FEC, 558 U.S. 310, 352 (2010) (“We have consistently rejected the proposition

that the institutional press has any constitutional privilege beyond that of other speakers”).

The law, therefore, was clearly established at the time of Robbins’ arrest that the First

Amendment protected his right to gather information by means of video recording events in

plain view from a public sidewalk. Houchins v. KQED, Inc., 438 U.S. 1, 11 (1978) (“There is

an undoubted right to gather news from any source by means within the law”) (quoting

Branzburg, 408 U.S. at 681-82). The law enforcement Defendants view that video

recordings lose constitutional protection if they capture footage of police officers is not only

unsupported by any legal authority—it is illogical. “[I]t is difficult to see why [First

Amendment protection of filming] should disappear simply because their subject is public

police activity.” Higginbotham v. City of New York, 105 F. Supp.3d 369, 379 (S.D.N.Y

2015). To the contrary, “dissemination of information related to alleged government

misconduct . . . l[ies] as the core of the First Amendment.” Gentile v. State Bar of Nevada,

501 U.S. 1030, 1034-35 (1991). “There is practically universal agreement that a major

purpose of ’the First Amendment’ was to protect the free discussion of governmental

affairs.” Arizona Free Enter. Club’s Freedom Club PAC v. Bennett, 564 U.S. 721, 755

(2011).

          The ability to scrutinize the actions of public servants lies at the core of the First

Amendment. For this reason, every court of appeals to address the issue on the merits in the

last decade and a half has recognized that the First Amendment protects video recording of

public official activity. See, e.g., Turner v. Driver, 848 F.3d 678, 690 (5th Cir. 2017) (“We agree

with every circuit that has ruled on this question . . . the First Amendment protects the right to

record the police”); Gericke v. Begin, 753 F.3d 1, 7 (1st Cir. 2014) (“the Constitution protects the

right of individuals to videotape police officers performing their duties in public”); Adkins v.

Limitiaco, 537 Fed. App’x 721, 722 (9th Cir. 2013) (holding that allegations that plaintiff was

                                                    15
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 16 of 24



arrested in retaliation for taking photos of the police in public stated a claim for First

Amendment retaliation); ACLU of Illinois v. Alvarez, 679 F.3d 583, 599-600 (7th Cir. 2012)

(holding that a statute that would prohibit recording police officers with a cell phone violated the

First Amendment); Glik v. Cunniffe, 655 F.3d 78, 79 (1st Cir. 2011) (holding “unambiguous” the

constitutional right to videotape police activity); Cumming, 212 F.3d at 1333 (11th Cir. 2000)

(finding “a First Amendment right, subject to reasonable time, manner and place restrictions, to

photograph or videotape police conduct”); Iacobucci v. Boulter, 193 F.3d 14, 25 (1st Cir. 1999)

(holding that filming public officials in a public area “was done in the exercise of [Plaintiff’s]

First Amendment Rights”); Fordyce v. City of Seattle, 55 F.3d 436, 439 (9th Cir. 1995) (holding

that recording of police conduct fell within the “First Amendment right to film matters of public

interest”); Williamson v. Mills, 65 F.3d 155, 157-59 (11th Cir. 1995) (reversing the district court’s

grant of qualified immunity to a police officer who arrested and seized the film of a political

demonstration participant). The right also has long been recognized among the lower courts as

well. See Crawford v. Geiger, 2015 WL 5569007 at *14 and n.5; Higginbotham v. City of New

York, 105 F. Supp. 3d 369, 380 (S.D.N.Y. 2015); Buehler v. City of Austin, No. A-13-CV-1100-

ML, 2015 WL 737031 at *9 (W.D. Tex. Feb. 20, 2015) (“In light of the existing Fifth Circuit

precedent and the robust consensus among circuit courts of appeals, the Court concludes that

the right to photograph and videotape police officers as they perform their official duties was

clearly established at the time of Buehler’s arrests”); Alliance to End Repression v. City of

Chicago, Civ. No. 74 C 3268, 2000 WL 562480, at *21 (N.D. Ill. May 8, 2000) (recognizing

“taking photographs of the police” as protected by the First Amendment); Connell v. Hudson,

733 F. Supp. 465, 470-71 (D.N.H. 1990) (“According to principles of jurisprudence long respected

in this nation, Chief Brackett could not lawfully interfere with Nick Connell’s picture-taking

activities unless Connell unreasonably interfered with police and emergency functions”);

Lambert v. Polk County, 723 F. Supp. 128, 133 (S.D. Iowa 1989) (“It is not just news

                                                  16
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 17 of 24



organizations . . . who have First Amendment rights to make and display videotapes of events –

all of us . . . have that right”); Channel 10, Inc. v. Gunnarson, 337 F. Supp. 634, 638 (D. Minn.

1972) (recognizing “constitutional right to have access to and to make use of the public streets,

roads and highways . . . for the purpose of observing and recording in writing and

photographically the events which occur therein”). The law enforcement Defendants offer no

case to the contrary. And for good reason—there is no modern dissent on this point.

       The Eighth Circuit Court of Appeals has explained that a “right is clearly established if

its contours are sufficiently clear that a reasonable official would understand that what he is

doing violates that right.” Mitchell v. Shearrer, 729 F.3d 1070, 1076 (8th Cir. 2013) (quoting

Anderson v. Creighton, 483 U.S. 635, 640 (1987)). It does “not require a case directly on point,

but existing precedent must have placed the statutory or constitutional question beyond debate.”

Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011). Here, the circumstances were not novel and any

reasonable officer would have known that he or she may not arrest an individual for recording

the officer’s public, professional behavior. As of May 2018, five federal circuit courts of appeals

and numerous lower courts had held there is a First Amendment right to record police activity.

No federal circuit court of appeals had rejected that right. Because no reasonable law

enforcement officer would believe he or she could retaliate against an individual for filming

them in public, the law enforcement Defendant’s may not rely upon qualified immunity.

       B.      Robbins had a clearly established right to protest the police action without
               retaliation

       “[T]he law is settled that as a general matter the First Amendment prohibits

government officials from subjecting an individual to retaliatory actions, including criminal

prosecutions, for speaking out.” Hartman v. Moore, 547 U.S. 250, 256 (2006). The First

Amendment “protects a significant amount of verbal criticism and challenge directed at police

officers.” City of Houston v. Hill, 482 U.S. 451 461 (1987). Speech directed at police, other than



                                                 17
      Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 18 of 24



“fighting words” or obstruction, has always been protected speech. Id.; Lewis v. City of New

Orleans, 415 U.S. 130, 133-34 (1974). The right to speak out without government retaliation

was clearly established at the time of Turner’s detention, handcuffing and arrest. “The freedom

of individuals verbally to oppose or challenge police action without thereby risking arrest is one

of the principal characteristics by which we distinguish this nation from a police state,” Hill, 482

U.S. at 462-63, and is therefore “high in the hierarchy of First Amendment values.” Lozman v.

City of Riviera Beach, ___ U.S. ___, 138 S. Ct. 1945, 1955 (2018). As the United States Supreme

Court has explained, if “there is any fixed star in our constitutional constellation, it is that no

official, high or petty” can compel citizens to speak. W. Va. State Bd. of Educ. v. Barnette, 319

U.S. 624, 642 (1943). Robbins, therefore, had a First Amendment right to criticize the law

enforcement Defendants’ conduct as well as the right to decline to cooperate with their

investigation and “go about his business.” Illinois v. Wardlow, 528 U.S. 119, 125 (2000).

Accordingly, the right to criticize police conduct without government retaliation was clearly

established at the time of Robbins’ arrest and seizure of property. Qualified immunity,

therefore, is not proper in this case.

IV.     THE CITY IS NOT ENTITLED TO SUMMARY JUDGMENT ON ROBBINS’ MONELL
        CLAIM

        Contrary to the City’s argument, and assuming this Court were to grant the law

enforcement Defendants qualified immunity on the First Amendment issue, that analysis of

qualified immunity does not settle Robbins’ First Amendment claim against the City because

qualified immunity does not extend to municipalities. See Owen v. City of Independence, 445

U.S. 622, 657 (1980) (“municipalities have no immunity from damages liability flowing from

their constitutional violations”). While it is true that officials may not be liable under section

1983 because their actions (or failure to act) were not constitutional violations according to

clearly established law at the time the actions took place, a municipality may nevertheless be



                                                  18
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 19 of 24



liable if the actions complained of rise to the level of constitutional violations in light of present

law. Id. at 657–58. Stated another way, it is possible that city officials may be entitled to

qualified immunity for certain actions while the municipality may nevertheless be held liable for

the same actions.

        In Monell v. Department of Social Services of the City of New York, the Supreme Court

determined that local governmental bodies may be held liable 42 U.S.C. section 1983 based on

the unconstitutional actions of its individual agents or employees only where they acted

pursuant to an official policy or custom of the local government that resulted in a violation of the

plaintiff’s rights. 436 U.S. 658, 690–91 (1978); see also Love-Lane v. Martin, 355 F.3d 766, 782

(4th Cir. 2004). Accordingly, a plaintiff seeking to impose section 1983 liability on a

municipality must “adequately plead and prove the existence of an official policy or custom that

is fairly attributable to the municipality and that proximately caused the deprivation of their

rights.” Jordan by Jordan v. Jackson, 15 F.3d 333, 338 (4th Cir. 1994). The policy or custom

may be “an express policy, such as a written ordinance or regulation;” a decision by “a person

with final policymaking authority;” “an omission, such as a failure to properly train officers, that

manifest[s] deliberate indifference to the rights of citizens;” or “a practice that is so persistent

and widespread as to constitute a custom or usage with the force of law.” Lytle v. Doyle, 326

F.3d 463, 471 (4th Cir. 2003) (internal quotation marks omitted).

        In addition, the Supreme Court has not foreclosed the possibility that a single violation

of constitutional rights could trigger municipal liability, where the violation is accompanied by a

showing that the municipality had “failed to train its employees to handle recurring situations

presenting an obvious potential for such a violation.” Bd. of the County Comm'rs v. Brown, 520

U.S. 397, 409 (1997). In determining whether the need for training or other safeguards was

“obvious,” however, we look to whether the employee violated a “clear constitutional duty” and

whether there were “clear constitutional guideposts” for municipalities in the area. City of

                                                  19
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 20 of 24



Canton v. Harris, 489 U.S. 378, 386-97 (1989) (O'Connor, J., concurring in part and dissenting in

part). Clarity of the municipal obligation is important in this context, because “[w]ithout some

form of notice to the city, and the opportunity to conform to constitutional dictates both what it

does and what it chooses not to do, the failure to train theory of liability could completely engulf

Monell, imposing liability without regard to fault.” Id. at 395; Szabla v. City of Brooklyn Park,

Minnesota, 486, F.3d 385, 390 (8th Cir. 2007), citing with approval Robles v. City of Fort Wayne,

113 F.3d 732, 735 (7th Cir.1997) (“A municipality would thus evince a deliberate indifference to

the constitutional rights of its citizens by failing to train its employees with respect to a clear

constitutional duty implicated in recurrent situations that a particular employee is certain to

face.”) (emphasis added) (internal quotation omitted); Young v. City of Augusta, 59 F.3d 1160,

1172 (11th Cir.1995)

       In order to state a viable section 1983 claim against the City of Des Moines, Robbins has

to induce evidence sufficient to show a jury that (1) the City’s officer-training practices were

inadequate; (2) the City was deliberately indifferent to the rights of others in adopting these

training practices, and the City’s failure to train was a result of deliberate and conscious choices

it made; and (3) the City’s alleged training deficiencies caused Robbins’ constitutional

deprivation. Andrews v. Fowler, 98 F.3d 1069, 1076 (8th Cir.1996) (citing Canton, 489 U.S. at

389). The City’s “policy of inaction” in light of notice that its program will cause constitutional

violations “is the functional equivalent of a decision by the city itself to violate the Constitution.”

Canton, 489 U.S. at 395.

       It is this policy of inaction and the City’s failure to train the individual and the law

enforcement Defendants to the ubiquitous and recurrent situation of citizens video recording

their public duties that is at issue here. Even the International Association of Chiefs of Police

(“ICAP”) has recognized this and the need for its officers to be on notice and have adequate

training, noting: “The proliferation of portable video recording capabilities in cellphones, smart

                                                  20
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 21 of 24



phones, and similar devices has made it easy for the public to record events and activities—

including the actions of police officers performing their duties in public places [and] [a]s

technology advances, recording of police actions is likely to increase.” See ICAP Law

Enforcement Policy Center: Recording Police Activity (Dec. 2015).6 ICAP goes on to advise

officers that “[a]rrests of individuals who are recording police activities must be based on

objective, articulable violations of the law that are unrelated to the act of recording alone.

Recording of the police does not, of itself, establish legal grounds for arrest, issuance of citations,

or taking other actions to restrict such recordings. Id. In fact, in December 2015, almost three

years before the Plaintiff was confronted here, ICAP developed a model policy on recording

police activity that advises officers that citizens in public spaces have a First Amendment right

to record police officer activity and that absent an arrest the citizens recording equipment could

not be seized nor could the citizen be made to show recordings to officers. See Recording Police

Activity Model (Dec. 2015).7

        Viewing the limited record in this matter in a light most favorable to Robbins, the City

was on notice of clear constitutional duty implicated in training officers that citizens had the

First Amendment right to record officers and the City has no policy or training in place

regarding this constitutional right or the contours of that constitutional right. To begin with,

the City has provided no materials showing that the constitutional training given to officers

includes specifics on the First Amendment rights of citizens to film police officers. (Def. MSJ


        6  Available at https://www.theiacp.org/sites/default/files/2018-08/RecordingPolicePaper.pdf (last
accessed May 10, 2019); see also Statement of Interest by Jonathan M. Smith, Chief, Special Litigation
Section, U.S. Department of Justice, Civil Rights Division (May 14, 2012), available at
http://www.justice.gov/crt/about/spl/documents/Sharp_ltr_5-14-12.pdf (last accessed may 10l 2019)
(Policies should affirmatively set forth the contours of individuals’ First Amendment right to observe and
record police officers engaged in the public discharge of their duties. Recording governmental officers
engaged in public duties is a form of speech through which private individuals may gather and
disseminate information of public concern, including the conduct of law enforcement officers).

        7Available at https://www.theiacp.org/sites/default/files/2018-08/RecordingPolicePolicy.pdf, (last
accessed May 10, 2019).


                                                     21
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 22 of 24



App. at 28). Although the Patrol Service Bureau Standard Operating Procedure – Chapter 10 –

Field Operations mentions “Freedom of Speech and Assembly” nowhere does it indicate that

officers are trained on the rights of citizens to record their public activities. (Def. MSJ App. at

28). Likewise, the Recruit Training Class Manuals and Syllabi the law enforcement Defendants

provide evidence no specific training on the First Amendment recording rights of citizens nor the

rights of citizens to not have their recording equipment seized. (Def. MSJ App. 33-139).

       Also, in addition to the current lawsuit, there were at least three other instances in

which citizens had reported to City and its police department’s Office of Professional Standards

(“OPS”) that their First Amendment rights to film has been infringed. (Pl. MSJ App. at 6 - OPS

Call Log). On June 3, 2016, a citizen complained of being harassed and told to “quit

videotaping” Des Moines Police Officer Trimble’s arrest of a suspect. (Pl. MSJ App. at 6 - OPS

Call Log). When the citizen requested a letter acknowledging that Trimble had been spoken to

about the incident, the citizen was told that is “not DMPD policy.” (Pl. MSJ App. at 6 - OPS Call

Log). Complainant was not arrested and was told to stop recording even though such activity is

their constitutional right. There is also no indication that Trimble received any training or

retraining on the issue.

       On June 22, 2017, Robbins complained to OPS when DMPD Officer Garrett approached

Plaintiff about filming Garrett’s arrest of a suspect. (Pl. MSJ App. at 6 - OPS Call Log). It is

noted in the call log that Robbins is “a scanner jumper who shows up at police calls and videos

officer actions. (Pl. MSJ App. at 6 - OPS Call Log). Officer Garrett “confronted” Robbins after

the arrest. Although the call log notes that Officer Garrett’s body cam “proves he did nothing

wrong,” the video footage was not provided to Robbins. (Pl. MSJ App. at 6 - OPS Call Log).

Again, there is no indication of what the result of the OPS complaint was and whether there

was a training or retraining given to the officer.




                                                 22
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 23 of 24



       Lastly, on November 12, 2018, DMPD Officer Chad Nicolino arrested a woman who was

recording her son’s arrest that evening on Court Avenue. (Pl. MSJ App. at 6 - OPS Call Log).

Although the call log notes the complaining husband “was able to see why his wife was

arrested,” (Pl. MSJ App. at 6 - OPS Call Log) , the accompanying video shows Nicolino telling

the woman to get out of the street when she pulls out her phone to record. (Pl. MSJ App.

Nicolino Video). There are lots of people milling around in the street and Nicolino grabs and

blocks the woman from exiting the street even though that is exactly what he has requested her

to do. (Pl. MSJ App. Nicolino Video). As before, there is no indication of what the final result of

the OPS investigation was and no indication or training or retraining for Nicolino. (Pl. MSJ

App. Nicolino Video).

       Further evidencing the City’s deliberate indifference to Robbins’ constitutional rights is

its inability to document and/or track instances of interactions or criminal charges filed against

citizens where the recording of officers was at issue. The City indicated in discovery responses

that “[t]he City of Des Moines does not track or categorize cases based on such information.” (Pl.

MSJ App. at 3-4 –Supplemental Response to Plaintiff’s Request for Production). With the

ubiquitousness of cell phones, the City’s lack of tracking of how its officers are handling of

situations where officers confront citizens recording them is tantamount to a adopting “a policy

of inaction.” Canton, 489 U.S., at 395; Brown, 520 U.S. at 407 (deliberate indifference by a

municipality may be shown, for example, where municipal decisionmakers are put on notice

that a policy or practice is ineffective and leads to constitutional violations, but they continue to

adhere to the same approach); King v. Kramer, 680 F.3d 1013, 1021 (7th Cir. 2012) (where

municipality has “actual or constructive knowledge that its agents will probably violate

constitutional rights, it may not adopt a policy of inaction”).

       Because the City does not have a First Amendment Recording Police Policy or any

specific training related to such issues and because it has actual knowledge that the prevalence

                                                 23
    Case 4:18-cv-00289-CRW-SBJ Document 15-4 Filed 05/10/19 Page 24 of 24



of cell phones makes the issue of citizen/police recording encounters commonplace and

furthermore it makes no effort to track such encounters, summary judgment on Robbins’ Monell

claim against the City must be denied.



                                                              CONCLUSION

          Viewing the facts in the light most favorable to Danny Robbins and giving him the

benefit of all reasonable factual inferences, as the Court must, leaves no doubt as to the

proper ruling on Defendants’ motion for summary judgment. The motion must be denied in

its entirety.

                                                                          Respectfully submitted,

                                                                          s/Gary Dickey
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  the foregoing instrument was served upon each of the attorneys          gary@dickeycampbell.com
  of record, or the parties if unrepresented, at their respective
  addresses disclosed on the pleadings electronically and by U.S.
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                                                                     24
